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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ORGUNA SANDERS,                                 )
               Plaintiff,                       )
                                                )      C.A. No. 22-355 Erie
                 v.                             )
                                                )      District Judge Susan Paradise Baxter
CITY OF ERIE, et al.,                           )      Chief Magistrate Judge Richard Lanzillo
                     Defendants.                )



                                   MEMORANDUM ORDER


       This is a pro se civil rights action filed by Plaintiff Orguna Sanders, an inmate

incarcerated at the State Correctional Institution at Pine Grove in Indiana, Pennsylvania (“SCI-

Pine Grove”), pursuant to 42 U.S.C. § 1983, against the City of Erie, Erie Police Chief Daniel

Spizarny, District Magistrate Judge Suzanne C. Mack, Assistant District Attorneys ("ADA")

Nicholas A. Maskery and Jeremy C. Lightner, Erie Police Officer K.M. Mullaney, and City of

Erie Mayor Joseph Schember. Plaintiff’s second amended complaint alleges constitutional

claims for false arrest and false imprisonment, malicious prosecution, and cruel and unusual

punishment, as well as a civil rights conspiracy claim. This matter was referred to Chief United

States Magistrate Judge Richard A. Lanzillo, for report and recommendation in accordance with

the Magistrates Act, 28 U.S.C. §636(b)(1), and Rules 72.1.3 and 72.1.4 of the Local Rules for

Magistrates.

       On May 15, 2024, Plaintiff filed a motion for temporary restraining order [ECF No. 74],

alleging, inter alia, that the Commonwealth “is using [this civil action] against [him] in his

direct appeal" of his criminal charges, in "violation of [his] rights" under "the [Fifth] and

[Fourteenth] Amendments;" is subjecting him to "Double Jeopardy" because it "is still saying
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[he] had East High Middle School locked down for two hours" even though he "was acquitted of

all charges from case 3152-2021;" and has unlawfully consolidated criminal case 3152-2021

with criminal case 3050-2021, and "is not using facts in their brief." (Id. at ¶¶ 1, 3-6, 9). As

relief, Plaintiff requests a “[TRO] or an injunction ordering the removal of the fraudulent brief

filed by the Commonwealth." (Id. at ¶ 9).

       On May 31, 2024, Chief Magistrate Judge Lanzillo issued a Report and Recommendation

(“R&R”) recommending that Plaintiff’s motion for temporary restraining order (“TRO motion”)

be denied because he has failed to allege facts demonstrating either a likelihood of success on the

merits or immediate irreparable harm [ECF No. 81]. In particular, Judge Lanzillo notes that

Plaintiff cannot obtain injunctive relief against the Commonwealth because (i) it is not a person

subject to suit under 42 U.S.C. § 1983; (ii) the claims set forth in the TRO motion are not

connected to the claims raised in the second amended complaint; and (iii) Plaintiff has failed to

plead an imminent injury, which is required for this Court to interfere with a state court

proceeding. (Id.). Objections to the R&R were due to be filed by June 17, 2024; however, no

objections have been received by the Court.

       Thus, after de novo review of Plaintiff’s motion and other documents in the case, together

with the report and recommendation, the following order is entered:

         AND NOW, this 24th day of June, 2024;

         IT IS HEREBY ORDERED that Plaintiff’s motion for a temporary restraining order

[ECF No. 74] is DENIED. The report and recommendation of Chief Magistrate Judge Lanzillo,
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issued May 31, 2024 [ECF No. 81], is adopted as the opinion of the court.




                                                     SUSAN PARADISE BAXTER
                                                     United States District Judge


cc:     The Honorable Richard A. Lanzillo
        Chief United States Magistrate Judge
